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 1                            UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
 3

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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-05-162-FVS-5
 6
                       Plaintiff,

 7
                                                        ORDER
                  v.
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 9
     LARRY J. NIELD,

10
                       Defendant.

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12        THIS MATTER comes before the Court based upon the defendant’s
     motion to vacate the judgment.          He is representing himself.
13
          BACKGROUND
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          On August 31, 2006, judgment was entered based upon the
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     defendant’s plea of guilty to the crime of conspiring to manufacture
16   marijuana.     21 U.S.C. § 846.     The defendant moves to vacate the
17   judgment.     28 U.S.C. § 2255.     In essence, he alleges that the

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     government violated the International Covenant on Civil and Political
     Rights (“ICCPR”) by prosecuting him and that the Court did not have
19
     jurisdiction.
20
          RULING
21        The defendant’s allegations lack merit.               To begin with, “the
22   ICCPR does not create judicially-enforceable individual rights.”
23   United States v. Duarte-Acero, 296 F.3d 1277, 1283 (11th Cir.), cert.
     denied, 537 U.S. 1038, 123 S.Ct. 573, 154 L.Ed.2d 459 (2002).
24
     Furthermore, jurisdiction and venue are well established.                A district
25
     court has subject matter jurisdiction over federal crimes.                 18 U.S.C.
26
     § 3231.   Cf. United States v. Lee, 472 U.S. 638, 641-42 (9th Cir.2006)

     ORDER - 1
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 1   (“Congress vested district courts of the United States with
 2   jurisdiction to prosecute federal crimes”).             The Eastern District of
     Washington is a “district court of the United States.”               28 U.S.C. §§
 3
     128(a), 132, 451.    The defendant was charged with a federal crime.
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     Therefore, subject matter jurisdiction existed.              “[A] court has
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     exclusive personal jurisdiction over any party who appears before it,
 6   regardless of how that appearance was effected.”              United States v.
 7   Warren, 610 F.2d 680, 684 n.8 (9th Cir.1980) (citing United States v.

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     Zammiello, 432 F.2d 72, 73 (9th Cir.1970)).             The defendant appeared in
     the United States District Court for the Eastern District of
 9
     Washington.   Therefore, personal jurisdiction existed.              Finally,
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     “[v]enue for a conspiracy charge ‘is appropriate in any district where
11
     an overt act committed in the course of the conspiracy occurred.’”
12   United States v. Corona, 34 F.3d 876, 878-91 (9th Cir.1994) (quoting
13   United States v. Meyers, 847 F.2d 1408, 1411 (9th Cir.1988)).                In
     pleading guilty, the defendant admitted facts sufficient to establish
14
     venue.
15
          IT IS HEREBY ORDERED:
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          1. The defendant’s motion to show cause (Ct. Rec. 421) is denied.
17        2. The defendant’s motion to vacate (Ct. Rec. 419) is denied.
18        IT IS SO ORDERED.      The District Court Executive is hereby

19   directed to enter this order and furnish copies to the defendant and
     to counsel for the government.
20
          DATED this     16th      day of October, 2007.
21

22                                s/ Fred Van Sickle
                                     Fred Van Sickle
23                            United States District Judge
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     ORDER - 2
